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                             UNITED STATES DISTRICT COURT
11
                                      DISTRICT OF ARIZONA
12
      Mi Familia Vota, et al.,
13
                                               Case No: 2:21-cv-01423-DWL
14           Plaintiffs,

15                                             ATTORNEY GENERAL’S
      vs.
                                               CONSOLIDATED MOTION TO
16                                             DISMISS PLAINTIFFS’ AND
      Katie Hobbs, et al.,
                                               INTERVENOR-PLAINTIFFS’
17
                                               COMPLAINTS UNDER RULES 12(B)(1)
             Defendants.
18                                             AND 12(B)(6)

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 1                                       INTRODUCTION
 2           This suit embodies three unfortunate trends in election law. First, it is part of the
 3   unwarranted targeting of Arizona with a multitude of election suits, even though Arizona
 4   operates one of the most open and generous voting systems in the United States. Notably,
 5   of the 31 states that use signatures as the primary method of authenticating mail-in ballots,
 6   11 do not permit curing of non-signatures whatsoever—unlike Arizona, which (like
 7   Georgia, Michigan, and Massachusetts) permits curing until polls close (“Poll-Close
 8   Deadline”). See Appendix. But Plaintiffs1 have not sued any of those 11 states regarding
 9   non-signature curing. Similarly, the existence of an Early Voter List (“EVL”), which
10   automatically sends mail-in ballots for all eligible elections, at all is a uniquely generous
11   feature of Arizona law: 30 states offer no such convenience to voters whatsoever, and ten
12   limit their EVLs either to voters with disabilities and/or those over the age of 64. See id.
13   But Plaintiffs have not challenged any of those 30 states’ complete absence of an EVL,
14   but instead have sued Arizona because it modestly conditions continued presence on its
15   EVL with a requirement that voters either vote in a federal or municipal election once
16   every four years or respond to a notice.
17           Plaintiffs would not dream of bringing equivalent challenges to states dominated
18   by Democratic officials even though the vast majority of those states have far more
19   onerous election laws. But once again for Arizona, “no good deed goes unpunished.”
20   Winter v. NRDC, 555 U.S. 7, 31 (2008). Arizona’s relative generosity has once again been
21   rewarded by yet another suit by Democratic organizations and their aligned groups.
22           Nor do Democratic legislators elsewhere in the U.S. have much discernable
23   sympathy for Plaintiffs’ cries of “Unconstitutional Disenfranchisement!” here. Those
24   Democratic legislators could readily pass laws enacting the policies Plaintiffs that seek to
25   impose here by litigation. They overwhelmingly and tellingly don’t. In Plaintiffs’ apparent
26   views—as now revealed by multiple election cycles of litigation—the laws at issue here
27   1
       As used herein, “Plaintiffs” refers to all Plaintiffs, while “Original Plaintiffs” or “Mi
28   Familia” refers to the Plaintiffs that originally filed this action, while “Intervenor
     Plaintiffs” refers to DSCC and DCCC, which subsequently intervened. The Attorney
     General is generally referred herein as the “State.”
                                                1
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 1   only “unconstitutionally disenfranchise” voters of swing or red states, not blue states.
 2   Plaintiffs’ selective and hypocritical invocations of the Constitution and the Voting Rights
 3   Act should therefore be considered in this context. These are not high-minded attempts to
 4   protect the rights of voters everywhere, but rather political-motivated attempts to seize
 5   small partisan gains only where Plaintiffs sense potential electoral advantage.
 6          Second, this suit continues Plaintiffs’ propensity for suing over even the tiniest of
 7   burdens in voting. “[E]very voting rule imposes a burden of some sort.” Brnovich v. DNC,
 8   141 S. Ct. 2321, 2338 (2021). And the burdens at issue here are truly miniscule: For the
 9   signature requirement, it is merely the burden of (1) signing once, where prominently
10   indicated, sometime within roughly a month, or, failing that, (2) curing the failure to do so
11   by election day, with the active (and mandatory) assistance of voting officials. For the EVL
12   Periodic Voting Requirement it is either (1) simply voting in a federal or municipal
13   election by mail-in ballot once every four years or, failing that, (2) responding
14   affirmatively to a notice inquiring whether the voter wishes to remain on the EVL or,
15   failing that, (3) re-registering for the EVL, either online or by mail, following removal.
16   And even if voters fail to take any of those three minimally burdensome actions, they still
17   can always vote in person (either early or on election day) or request a mail-in ballot for
18   an individual election. Plaintiffs’ contentions that these minimal burdens are
19   unconstitutionally burdensome both violates controlling precedent and reflects an
20   attempted infantilization of voters that this Court should reject.
21          Third, Plaintiffs’ suit embodies the modern trend of castigating all policies that
22   groups dislike as irredeemably “racist,” even though they have strong race-neutral
23   rationales and there is scant evidence of animus. Plaintiffs’ have not even plausibly alleged
24   cognizable discriminatory intent here, and not even dogs could discern the whistles that
25   Plaintiffs purported to perceive. Moreover, their instant theories directly violate the
26   Supreme Court’s recent decision in Brnovich v. DNC, as well as the presumption of good
27   faith that federal courts accord to state legislators. Plaintiffs’ extensive discursions into
28   ancient history and the election audit, which is irrelevant here, do not overcome that


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 1   presumption of good faith.
 2          But Plaintiffs’ problems do not end—or even begin—there. As a threshold matter,
 3   some of their claims lack subject matter jurisdiction. In particular, most of Plaintiffs’
 4   challenges to the Signature Requirement of S.B. 1003 are not redressable under Article III
 5   because the pre-existing laws also impose the same requirement and are not challenged by
 6   Plaintiffs. Similarly, Plaintiffs lack standing to assert any as-applied challenges because
 7   they have joined no voters and challenged no particular applications of the laws being
 8   challenged.
 9          As to Plaintiffs’ VRA claims, it is well-established that a Section 2 violation can
10   only established by either of two distinct tests: (1) the discriminatory intent test or (2) the
11   results tests, which analyzes disparate impacts. See, e.g., Brnovich, 141 S. Ct. at 2336-43,
12   2348-50. But Plaintiffs’ VRA claims here improperly attempt to conflate and combine the
13   two tests. Plaintiffs’ claims thus repeatedly rely on purported disparate impacts, Mi
14   Familia Complaint ¶¶ 3, 46, 67-68, 75-77, 80—but Plaintiffs do not even argue that these
15   disparate impacts alone could satisfy the results test.
16          Instead, Plaintiffs allege the Legislature was allegedly aware of disparate impacts
17   that themselves do not violate the VRA and enacted SB 1003 and 1485 anyway. In
18   Plaintiffs’ apparent view, that alone constitutes discriminatory intent—without the need to
19   bother with proof. That is simply not the law: “awareness of consequences [i.e., disparate
20   impacts] alone does not establish discriminatory intent.” United States v. Coleman, 24 F.3d
21   37, 39 (9th Cir. 1994). But that is largely all that Plaintiffs offer, with a few completely
22   conclusory allegations of unlawful animus sprinkled in. See, e.g., Mi Familia Complaint
23   ¶¶67-68, 145.
24          To the extent that Plaintiffs offer anything beyond disparate impacts, it is minimal
25   and insufficient to plausibly allege discriminatory intent. The Original Plaintiffs’
26   Complaint, for example, uses the statement of a single legislator as evidence of
27   discriminatory animus. See id. ¶¶ 67-68. That statement has nothing to do with race at all.
28   It is certainly less relevant evidence than the purportedly “‘racially-tinged’ video” at issue


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 1   in Brnovich—which did not suffice. 141 S. Ct. at 2349-50. But even were that single
 2   statement the dog whistle that Plaintiffs claim, Plaintiffs’ attempt to extrapolate
 3   discriminatory intent of the entire legislature from the statement of a one of its members
 4   is precisely the sort of “‘cat’s paw’ theory” that the Supreme Court squarely held “has no
 5   application to legislative bodies.” Id. at 2350.
 6          In addition, as the State has already explained, Plaintiffs’ Anderson-
 7   Burdick/unconstitutional burden challenge to the Poll-Close deadline should be stayed
 8   pending the Ninth Circuit’s decision in Arizona Democratic Party v. Hobbs, No. 20-16759
 9   (9th Cir.). And their Anderson-Burdick challenge to the Periodic Voting Requirement fails
10   because the burdens imposed are exceedingly small, and justified by the State’s interests
11   in reducing administrative costs and securing its elections.
12          For all of these reasons, this Court should dismiss Plaintiffs’ Complaints.
13                                        BACKGROUND
14          Voting in Arizona. Arizona is a leader among states in making it easy for its citizens
15   to cast votes. See, e.g., Brnovich, 141 S. Ct. at 2330 (“Arizona law generally makes it very
16   easy to vote.”). Arizona does so through a variety of means, including (1) online
17   registration, (2) not requiring any excuse to obtain an absentee/mail-in ballot, (3) making
18   it easy to sign up for automatic mailing of ballots for all eligible elections, (4) pre-paying
19   postage, (5) maintaining polling places despite high vote-by-mail usage, (6) placing voting
20   drop boxes in areas with limited mail service, and (7) requiring nothing more than a timely
21   signature to vote by mail (unlike other states that require witnesses or notarization). Id. at
22   2344, 2346; Mi Familia Vota v. Hobbs, 977 F.3d 948, 952 (9th Cir. 2020) (“Registration
23   could be accomplished online or by mail.”); A.R.S. § 16-542 (postage pre-paid); ADP v.
24   Hobbs (“Hobbs I”), 976 F.3d 1081, 1085-86 (9th Cir. 2020) (describing signature
25   requirement).
26          That last requirement is directly at issue here.
27          Absentee/Mail-In Balloting. For most of its history as a state (all but 1912-17)
28   Arizona has permitted absentee balloting. See 1918 Ariz. Session Laws Ch. 11, §§6-7.


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 1   During the entirety of that time, i.e., 1918-2021, Arizona has (1) always required a
 2   signature to cast a vote by mail/absentee and (2) never permitted “curing” of non-
 3   signatures after election day.
 4             Signature Mismatches. In 2019, the Arizona Legislature enacted a bill that permits
 5   curing of signature mismatches up to 5 business days after the relevant election. See 2019
 6   Ariz. Legis. Serv. Ch. 39 §2 (S.B. 1054). The statute did not provide an equivalent cure
 7   period for non-signatures. Id.
 8             Although Arizona law does not permit post-election curing of non-signatures, it
 9   does permit curing up until polls close. See Judicial Notice Request Ex. 1 at 68-69. Its
10   Election Procedure Manual affirmatively mandates that county recorders take affirmative
11   efforts to facilitate such curing. Id.
12             The Arizona Legislature codified the prohibition on post-election curing of non-
13   signatures expressly in 2021 in S.B. 1003. See 2021 Ariz. Legis. Serv. Ch. 343 §2 (S.B.
14   1003) (amending A.R.S. §16-550(A)). As explained below (and previously in Hobbs I),
15   that was already Arizona law based on the interaction on two mail-in ballot statutes. Infra
16   at 7-8.
17             Early Voting List. In 1991, Arizona’s Legislature expanded its voting procedures
18   to allow any qualified elector—not just those that met certain enumerated criteria—to
19   participate in early voting via an absentee ballot without requiring an excuse. 1991 Ariz.
20   Sess. Laws Ch. 308 §6. In 2007, the Legislature created the “permanent early voting list,”
21   (PEVL) on which any voter may request to be added to receive an early, mail-in ballot for
22   all eligible elections. 2007 Ariz. Sess. Laws Ch. 183 §3. Arizona is one of five states that
23   has such a list available for all voters. See Appendix. In addition, five other states conduct
24   elections entirely by mail. See id.
25             Inclusion on Arizona’s EVL is not automatic; instead, the voter must make a written
26   request to be included. Id. Similarly, voters on the list may specifically request to be
27   removed from it. A.R.S. §16-544(I). Voters on the list receive a ballot by mail no later than
28   27 days before election day, and may return their early ballot either by mail or by dropping


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 1   the completed ballot off at a polling location. A.R.S. §16-548.
 2          EVL Periodic Voting Requirement. In an effort to maintain an accurate list of those
 3   electors utilizing the early ballots to participate in the state and federal political process
 4   and reduce costs, the 2021 Legislature passed Senate Bill 1485. That statute amended the
 5   permanent early voting list by renaming it the “active early voting list,” and adding the
 6   Periodic Voting Requirement. See 2021 Ariz. Legis. Serv. Ch. 359 §6 (S.B. 1485)
 7   (amending A.R.S. §16-544)
 8          That requirement generally requires voters to either (1) vote by mail in one federal
 9   or municipal election (primary or general) every four years, or (2) respond to a notice
10   asking whether they wish to remain on the EVL. See id. That requirement is enforced by
11   the county recorders, who must provide notice after sufficient non-voting in the prior four
12   years. Id. The law provides the notified voters 90 days within which to confirm their desire
13   to remain on the EVL in writing. Id. Failure to do so results in the removal of that voter
14   from the EVL and, consequently, from receiving an early ballot automatically for each
15   election. Id.
16          If voters are removed from the EVL under the Periodic Voting Requirement, they
17   are still registered to vote and may do so either in person or by using one of the many
18   available ways to request a mail-in ballot for a particular election. See, e.g., Arizona
19   Secretary       of   State,   Voting    by   Mail:   How    to    Get    a   Ballot-by-Mail,
20   https://azsos.gov/votebymail (explaining the four options to get a one-time mail-in-ballot;
21   (1) online request, (2) calling county recorder; (3) submitting a written form; and (4)
22   sending an e-mail to county recorder). They also may simply request to be put back on the
23   EVL, in the same manner that they initially requested inclusion. A.R.S. §16-544(b).
24                                          LEGAL STANDARD
25          Plaintiffs’ claims should be dismissed for lack of jurisdiction and/or for the failure
26   to state a claim. Federal courts may only entertain cases and controversies. See, e.g., M.S.
27   v. Brown, 902 F.3d 1076, 1082 (9th Cir. 2018). Accordingly, to establish jurisdiction,
28   plaintiffs must demonstrate a personal stake in the outcome. “The burden of establishing


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 1   ripeness and standing rests on the party asserting the claim.” Colwell v. Dep’t of Health &
 2   Hum. Servs., 558 F.3d 1112, 1121 (9th Cir. 2009).
 3           On a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient
 4   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
 5   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). A complaint must contain
 6   “enough fact[s] to raise a reasonable expectation that discovery will reveal evidence of

 7   illegal” conduct. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

 8                                           ARGUMENT

 9      I.        SOME OF PLAINTIFFS’ CLAIMS ARE NON-JUSTICIABLE

10           Here, Plaintiffs lack standing to challenge the Poll-Close Deadline of SB 1003

11   because they cannot show redressability in light of the background, unchallenged statutes.

12   In addition, Plaintiffs lack standing to assert any as-applied challenges, as they do not even

13   allege that any specific voter has suffered a deprivation from either challenged law and

14   have failed to join any individual voters.

15           A.     Plaintiffs Intentional Discrimination Challenges To S.B. 1003 Fail
                    Because Plaintiffs Cannot Establish Redressability
16
                    1.     Pre-Existing, Unchallenged Laws Preclude Post-Election Curing
17                         Of Non-Signatures
18           Prior to S.B. 1003 passing, preexisting Arizona statutory law affirmatively

19   precluded counting mail-in ballots not signed or cured by poll-close time, thereby barring

20   a post-election cure period. This result flows inexorably from the interaction of two

21   statutes. First, A.R.S. §16-548(A) requires that a ballot affidavit “must be received … [by]

22   7:00 p.m. on election day.” Second, A.R.S. §16-552(B) provides that “[i]f the affidavit is

23   insufficient, the vote shall not be allowed.”

24           The combination of these two provisions means that ballots must have arrived with

25   their respective ballot affidavits by poll-close time, and that if they are not sufficient then,

26   the vote accordingly “shall not be allowed.” A.R.S. §16-552(B).

27           This conclusion is further underscored by the canon of expressio unius. When the

28   Arizona Legislature expressly provided a post-election cure period for signature


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 1   mismatches in 2019, but not non-signatures, that omission is presumptively intentional and
 2   should be given effect. See, e.g., Christensen v. Harris Cty., 529 U.S. 576, 583 (2000)
 3   (“When a statute limits a thing to be done in a particular mode, it includes a negative of
 4   any other mode.” (cleaned up)); Jennings v. Rodriguez, 138 S. Ct. 830, 844 (2018).
 5          Notably, the State raised this precise argument in Hobbs I. See Doc. 58-2 at 60-62,
 6   58-5 at 29-30. In response, the Hobbs I plaintiffs (Intervenor-Plaintiffs here) offered no
 7   response at all, thereby conceding the issue. See generally Doc. 58-4.
 8
                   2.     Because Plaintiffs Do Not Challenge The Preexisting Laws, They
 9                        Lack Article III Standing
            Because unchallenged Arizona laws preclude post-election curing of non-
10
     signatures, Plaintiffs cannot satisfy Article III’s redressability requirement. See, e.g.,
11
     Nuclear Info. & Res. Serv. v. Nuclear Regul. Comm’n, 457 F.3d 941, 955 (9th Cir. 2006)
12
     (redressability was lacking because a holding setting aside an NEPA regulation would not
13
     remedy plaintiffs’ injury where plaintiffs did not challenge another identical regulation);
14
     see also Renne v. Geary, 501 U.S. 312, 319 (1991) (doubting that the alleged injury could
15
     be redressed because “[a] separate California statute, the constitutionality of which was
16
     not litigated in this case” provided similar restrictions); Arizonans for Fair Elections v.
17
     Hobbs, 454 F. Supp. 3d 910, 917-19 (D. Ariz. 2020) (holding that plaintiffs’ failure to
18
     challenge parallel constitutional requirement created fatal redressability issue).
19
            Even if S.B. 1003 were struck down in its entirety, A.R.S. §16-548(A) and §16-
20
     552(B) would still preclude any post-election curing. And Plaintiffs do not even allege that
21
     either of those laws were enacted with discriminatory intent.
22
            Because Plaintiffs’ alleged injury is the inability to cure non-signatures after
23
     election day, and even granting their requested relief as to S.B. 1003 in its entirety would
24
     not allow them to do so, Plaintiffs cannot satisfy their burden to establish redressability.
25
     “‘Relief that does not remedy the injury suffered cannot bootstrap a plaintiff into federal
26
     court.’” Yazzie v. Hobbs, 977 F.3d 964, 967 (9th Cir. 2020) (quoting Steel Co. v. Citizens
27
     for a Better Env’t, 523 U.S. 83, 107 (1998) (alteration omitted)).
28


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 1          Moreover, even aside from A.R.S. §16-548(A) and §16-552(B), Plaintiffs’
 2   intentional discrimination claims suffer from a more fundamental defect: in the 103 years
 3   that Arizona has permitted voting by mail, it has always required signatures and never
 4   permitted the absence of a signature to be cured after polls close. Neither the
 5   Reconstruction Amendments nor the VRA can conjure a law providing for such curing out
 6   of existence: “The absence of a law … has never been held to constitute a ‘substantive
 7   result’ subject to judicial review.” M.S., 902 F.3d at 1087. That is because “structural
 8   constitutional limits prevent federal courts from ordering government officials to enact or
 9   implement a bill that has not completed a lawfully prescribed legislative process.” Id.
10          This is particularly true as there is nothing inherently discriminatory about denying
11   an opportunity to cure non-signatures after polls close, or indeed at all, where it applies to
12   all voters equally. Notably, states such as Connecticut, New Mexico, and Delaware do not
13   permit any curing of non-signatures whatsoever, and states including Massachusetts (like
14   Arizona) limit curing to when polls close. Plaintiffs do not contend that any of these states
15   are engaged in unconstitutional discrimination, nor have they sued them. Nothing about
16   the equal protection components of the Fourteenth or Fifteenth Amendments or the VRA
17   imposes an affirmative mandate of post-election curing.
18          Ultimately, because post-election curing would require some affirmative creation
19   of new law that Arizona has never had, this Court could strike down S.B. 1003 and every
20   other Arizona election law as unlawfully discriminatory and it still would not lead to
21   creation of any post-election curing or redress any injury that Plaintiffs suffer from the
22   absence of such curing. There is no pre-existing law to revert to that would permit such
23   curing. As a result, Plaintiffs lack Article III standing to assert their claims under the VRA,
24   and Fourteenth and Fifteenth Amendments.
25
                   3.      Plaintiffs Have Alleged Injury-in-Fact With Respect To Their
26                         Anderson-Burdick Facial Challenge To Poll-Close Deadline

27          The State agrees that Intervenor-Plaintiffs have adequately alleged standing with
28   respect to their facial Anderson-Burdick challenge to Poll-Close Deadline for non-


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 1   signature curing. Because that claim asserts that the absence of any law providing post-
 2   election curing inherently violates the Constitution, the State does not contest
 3   redressability on that claim.
 4            B.     Plaintiffs Lack Standing To Assert Any As-Applied Challenges
 5            Plaintiffs notably do not include any individual voters and also do not make any
 6   allegations about any individual applications of the challenged laws. Nor are such
 7   individual applications even conceivable for the Periodic Voting Requirement, since no
 8   one has not received an early ballot or been removed from the EVL as a result of it yet.
 9            It is unclear whether Plaintiffs are even attempting to assert any as-applied
10   challenges, or merely facial ones alone. Their Complaints are unclear on this point: neither
11   uses the terms “facial” or “as applied” at all; nor do they even allege that there are “no set
12   of circumstances exists under which the Act[s] would be valid.” United States v. Salerno,
13   481 U.S. 739, 745 (1987).
14            Notably, in the ADP v. Hobbs case, plaintiffs there (Intervenor Plaintiffs here)
15   conceded that their “claims [we]re facial in nature.” Doc. 58-2 at 58. To the extent that
16   either set of Plaintiffs here might be attempting to assert as-applied challenges here,
17   however, they lack standing to do so. See Free Speech Coal., Inc. v. Att’y Gen. U.S., 974
18   F.3d 408, 421-22 (3d Cir. 2020).
19
        II.        THIS COURT SHOULD STAY PLAINTIFFS’ ANDERSON-BURDICK
20                 CHALLENGES TO SB 1003

21            As the State has requested, see Doc. 58, Plaintiffs’ Anderson-Burdick claims against
22   the Poll-Close Deadline should be stayed pending the Ninth Circuit’s resolution of ADP v.
23   Hobbs, as that decision will control the resolution of those claims. But if those claims are
24   not stayed, they fail in any event because the Ninth Circuit has already determined that the
25   Poll-Close Deadline provision imposes “at most, a minimal” burden on the right to vote
26   and that it “reasonably advances [the State’s] important regulatory interests,” Hobbs I, 976
27   F.3d at 1085-86, and for the reasons explained in the State’s briefing in Hobbs I. See Docs.
28   58-2, 58-4. at 60-62, 58-5.


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 1      III.   PLAINTIFFS’ INTENTIONAL DISCRIMINATION CLAIMS FAIL
 2          Plaintiffs claim intentional discrimination in the enactment of both provisions under
 3   both the Voting Rights Act Section 2 and the Equal Protection Clause. These intentional
 4   discrimination claims require proof of both an intent to discriminate and actual
 5   discriminatory effect. Davis v. Bandemer, 478 U.S. 109, 127 (1986). Once racial
 6   discrimination is shown to have been a “substantial” factor behind the law, the burden
 7   shifts to the state to show that the law would have been enacted anyway. See Hunter v.
 8   Underwood, 471 U.S. 222, 228 (1985).
 9          Here, Plaintiffs’ allegations fall short of plausibly establishing discriminatory
10   intent, especially when considered against the background of the strong presumption of
11   good faith for state legislatures, and so should be dismissed.
12          A. Plaintiffs Improperly Conflate The Results And Intents Test
13          Section 2 of the Voting Rights Act states that “No voting qualification or
14   prerequisite to voting or standard, practice, or procedure shall be imposed or
15   applied…which results in a denial or abridgement of the right of any citizen…to vote on
16   account of race or color.” 52 U.S.C. §10301. A violation of Section 2 may be shown under
17   either the results test or the intent test. See DNC v. Hobbs, 948 F.3d 989, 1011 (9th Cir.),
18   rev’d on other grounds by Brnovich v DNC, 141 S. Ct. 2321 (2020).
19          Plaintiffs do not allege that either challenged provision violates the “results test”
20   under Section 2. As the Supreme Court explained in Brnovich, Section 2 is violated where,
21   in considering the “totality of the circumstances,” the political process is not “equally
22   open” to minority and non-minority groups. 141 S. Ct. at 2337. Plaintiffs do not explain
23   how the Signature Requirement and the EVL Periodic Voting Requirement, both of which
24   impose no more than a “mere inconvenience,” violate the results test. Id. at 2338.
25          Instead, Plaintiffs solely claim that both requirements were “adopted for the
26   purpose of denying voters of color full and equal access.” Mi Familia Complaint ¶144;
27   DSCC Complaint ¶141. While Plaintiffs repeatedly attempt to assert that this
28   discriminatory purpose exists by means of alleging disparate impacts, this improperly


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 1   conflates the two distinct Section 2 inquiries. Instead, the “[p]roof of racially
 2   discriminatory intent or purpose is required,” not proof of discriminatory impact, to
 3   establish purposeful discrimination. See Village of Arlington Heights v. Metro. Hous. Dev.
 4   Corp., 429 U.S. 252, 265 (1977).
 5          Thus, establishing intentional discrimination requires more than “awareness of
 6   consequences,” and instead requires that the “state legislature, selected or reaffirmed a
 7   particular course of action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse
 8   effects upon an identifiable group.” Pers. Adm’r of Massachusetts v. Feeney, 442 U.S.
 9   256, 279 (1979). See also Iqbal, 556 U.S. at 676 (affirming motion to dismiss for failing
10   to adequately plead discriminatory purpose, observing that “[u]nder extant precedent
11   purposeful discrimination requires more than intent as volition or intent as awareness of
12   consequences.” (cleaned up)). Thus, “awareness of consequences [i.e., disparate impacts]
13   alone does not establish discriminatory intent.” Coleman, 24 F.3d at 39; accord Lewis v.
14   Ascension Par. Sch. Bd., 662 F.3d 343, 349 (5th Cir. 2011) (“A discriminatory purpose,
15   however, requires more than a mere awareness of consequences.” (cleaned up)).
16          Because Plaintiffs’ Complaints rely almost exclusively on mere “awareness” of
17   disparate impacts, they have failed to plead a cognizable intentional discrimination claim.
18
            B.     Plaintiffs’ Allegations Are Insufficient To Defeat The Presumption Of
19                 Good Faith
            “Whenever a challenger claims that a state law was enacted with discriminatory
20
     intent, the burden of proof lies with the challenger, not the State.” Abbott v. Perez, 138 S.
21
     Ct. 2305, 2324 (2018). Although legislative decisions are not immune from review, courts
22
     must afford state legislatures a presumption of good faith. Id. at 2324; Fusilier v. Landry,
23
     963 F.3d 447, 464 (5th Cir. 2020). “Only the clearest proof could suffice to establish the
24
     unconstitutionality of a statute on [the] ground [of improper legislative motive.]”
25
     Flemming v. Nestor, 363 U.S. 603, 617 (1960). In satisfying that burden, Plaintiffs may
26
     put forward both direct and circumstantial evidence of illegitimate intent. Abbott, 138 S.
27
     Ct. at 2327. In terms of circumstantial evidence, the court could consider: (1) historical
28


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 1   background; (2) the specific sequence of events leading to the law’s enactment, including
 2   any departures from the normal legislative process; (3) the law’s legislative history; and
 3   (4) whether the law “bears more heavily on one race than another.” Arlington Heights, 429
 4   U.S. at 265-69.
 5          Plaintiffs say a lot in their complaints, but virtually nothing they say bears
 6   meaningfully on the key question to their case—whether the legislature had an illegitimate
 7   intent that motivated its enactment of the two statutes in question. Instead, they fail to even
 8   acknowledge the existence of the presumption of good faith and put forward allegations
 9   which are directed toward showing that 1) there was historical discrimination in Arizona
10   and 2) one or two legislators said things that purportedly indicate an illegitimate purpose,
11   and 3) the challenged provisions may have a discriminatory effect. But even when taken
12   as true, these allegations fall far short of being able to establish plausibly that the legislature
13   had an improper motive, given the existence of several possible non-discriminatory
14   justifications for the provisions. See Iqbal, 556 U.S. at 680-81 (claim of racial
15   discrimination not adequately plead where allegations recite in a conclusory manner the
16   elements of the claim and allege a mere knowledge of disparate impact, “given more likely
17   explanations”); Twombly, 550 U.S. at 556-57 (allegations of parallel conduct and
18   conclusory assertion of agreement not enough to show antitrust violation when parallel
19   conduct could “just as well be independent action”).
20          None of Plaintiffs’ allegations suffice to establish the necessary context to plausibly
21   infer discriminatory motive. First, both Plaintiffs spend an inordinate amount of time on
22   historical background and on disputes over the 2020 election results and the resulting
23   aftermath. See Mi Familia Complaint ¶¶48-64; 97-126; DSCC Complaint ¶¶60-76; 121.
24   But Plaintiffs do not (and could not) connect this history to the challenged provisions or
25   the process of enacting them. See Arlington Heights, 429 U.S. at 267 (historical
26   background “of the decision is one evidentiary source, particularly if it reveals a series of
27   official actions taken for invidious purposes” (emphasis added)). And Courts have
28   routinely rejected the idea that historical discrimination alone—even at a far greater level


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 1   than ever present in Arizona—can overcome the presumption of good faith. See, e.g.,
 2   Abbott, 138 S. Ct. at 2324 (“The allocation of the burden of proof and the presumption of
 3   legislative good faith are not changed by a finding of past discrimination.”).2 Put simply,
 4   “past discrimination cannot, in the manner of original sin, condemn governmental action
 5   that is not itself unlawful.” Abbott, 138 S. Ct. at 2324 (quoting City of Mobile v. Bolden,
 6   446 U.S. 55, 74 (1980)).
 7          The second category of allegations made by the Plaintiffs concern a pair of
 8   statements by legislators tangentially related to the provisions and completely unrelated to
 9   racial discrimination. First, both Complaints cite a statement by Representative John
10   Kavanaugh—in an interview to CNN, not in the record for either of the challenged
11   provisions—that “we have to look at the quality of votes.” Mi Familia Complaint ¶67;
12   DSCC Complaint ¶116. The DNC Plaintiffs also highlight a statement by Representative
13   Travis Graham allegedly calling for people who impugned the motives of members not to
14   be allowed to speak. DSCC Complaint ¶114.
15          On their face, neither of these statements even contains a suggestion of
16   discriminatory purpose. In fact, a straightforward reading of Representative Kavanaugh’s
17   statement suggests a non-racially discriminatory motive—the lawmaker went on to say
18   that the problem he was speaking about was a lack of informed voters. See Joe Dana,
19   Arizona State Representative raises eyebrows with ‘quality’ voting comments,
20   12News.com (Mar. 12, 2021). Even assuming that anything regarding race can be
21   extrapolated from these statements, they fall far short of the “‘racially-tinged’ video” at
22   issue in Brnovich—which itself was insufficient to establish discriminatory animus. 141
23   S. Ct. at 2349-50.
24          Moreover, even if these statements could be construed to suggest a discriminatory
25   purpose, Plaintiffs’ reliance on them is merely an attempt to apply the “cat’s paw” theory
26
     2
       See also Greater Birmingham Ministries v. Sec’y of State for State of Alabama, 992 F.3d
27   1299, 1325 (11th Cir. 2021) (“[I]t cannot be that Alabama’s history bans its legislature
28   from ever enacting otherwise constitutional laws about voting.”); N. Carolina State Conf.
     of the NAACP v. Raymond, 981 F.3d 295, 298 (4th Cir. 2020) (“A legislature’s past acts
     do not condemn the acts of a later legislature, which we must presume acts in good faith.”)
                                              14
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 1   that the Supreme Court expressly and emphatically rejected in Brnovich. See 141 S. Ct. at
 2   2350. As the Supreme Court explained, “the ‘cat’s paw’ theory has no application to
 3   legislative bodies. The theory rests on the agency relationship that exists between an
 4   employer and supervisor, but the legislators who vote to adopt a bill are not the agents of
 5   the bill’s sponsor or proponents.” Id.
 6            Similarly, here, it is irrelevant what Representative Kavanaugh may have said in an
 7   interview to CNN, because the question is not the purpose of Representative Kavanaugh
 8   but the purpose of the legislature as a whole. And as to that purpose, Plaintiffs offer
 9   essentially nothing. See also Raymond, 981 F.3d at 307 (district court erred by relying on
10   “comments of a few individual legislators” and “comments made by the bill’s opponents”);
11   see also United States v. O'Brien, 391 U.S. 367, 384 (1968) (courts generally should not
12   invalidate laws “on the basis of what fewer than a handful of Congressmen said about it”).
13            Finally, Plaintiffs attempt to establish discriminatory purpose by alleging that the
14   purposes of the challenged provisions do not justify the alleged disparate impacts they
15   impose on minorities. But, as explained above, this improperly conflates the results and
16   intent tests under Section 2. Furthermore, as explained in the Anderson-Burdick analyses,
17   Plaintiffs radically misstate and underestimate the purposes of the laws and overstate their
18   burdens. Once those purposes are properly considered, Plaintiffs attempt to infer
19   discriminatory purpose necessarily falls flat.
20
        IV.      PLAINTIFFS’ ANDERSON-BURDICK CHALLENGES                              TO    THE
21               PERIODIC VOTING REQUIREMENT FAIL

22            “Although the Anderson-Burdick test can at times be fact intensive,” dismissal is
23   appropriate “where the plaintiffs’ arguments fail[] as a matter of law.” Comm. to Impose
24   Term Limits (etc.) v. Ohio Ballot Bd., 885 F.3d 443, 448 (6th Cir. 2018). Plaintiffs’
25   challenge to the Periodic Voting Requirement fail as a matter of law here because the
26   burden imposed is minimal at most, and the requirement reasonably advances the State’s
27   important interests.
28


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 1          A. Overview Of The Anderson-Burdick Framework
 2          Challenges to electoral statutes and regulations that allege an unconstitutional
 3   burden are governed by the Anderson-Burdick framework. That framework recognizes that
 4   “‘States may, and inevitably must, enact reasonable regulations of parties, elections, and
 5   ballots to reduce election- and campaign-related disorder.’” Prete v. Bradbury, 438 F.3d
 6   949, 961 (9th Cir. 2006) (quoting Timmons v. Twin Cities Area New Party, 520 U.S. 351,
 7   358 (1997)).
 8          Under the Anderson-Burdick framework, “an election regulation that imposes a
 9   severe burden is subject to strict scrutiny.” Nader v. Brewer, 531 F.3d 1028, 1035 (9th Cir.
10   2008). In contrast, ‘“Lesser burdens trigger less exacting review, and a State’s important
11   regulatory interests will usually be enough to justify reasonable, nondiscriminatory
12   restrictions.”’ Angle v. Miller, 673 F.3d 1122, 1132 (9th Cir. 2012) (quoting Prete, 438
13   F.3d at 961) (cleaned up). Notably, “voting regulations are rarely subjected to strict
14   scrutiny.” Dudum v. Arntz, 640 F.3d 1098, 1106 (9th Cir. 2011) Moreover, “Elaborate,
15   empirical verification of weightiness is not required.” Timmons, 520 U.S. at 352.
16
            B.      Plaintiffs Have No Right To Vote By Mail At All—Let Alone Remain
17                  On An EVL Despite Chronic Non-Voting
            In evaluating the burden imposed by the Periodic Voting Requirement, it is useful
18
     to consider how it relates to other asserted rights/non-rights, and how it is necessarily
19
     subsidiary to them.
20
            As an initial matter, “there is no constitutional right to an absentee ballot” at all.
21
     Mays v. LaRose, 951 F.3d 775, 792 (6th Cir. 2020) (citing McDonald v. Bd. of Election
22
     Comm'rs of Chicago, 394 U.S. 802, 807-09 (1969)). But Plaintiffs’ asserted right here
23
     necessarily depends on having such a general right to vote by mail. Similarly, it appears
24
     that no court has ever held that the Constitution requires States to establish permanent
25
     vote-by-mail lists. Such a holding would be surprising to say the least: the laws of 40 states
26
     would likely violate any such putative right.
27
            Plaintiffs’ asserted right is thus doubly subsidiary to asserted rights that the
28


                                               16
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 1   Constitution does not protect: without a right to vote by mail, and to do so by being on an
 2   EVL in the first place, it is difficult to understand how anyone could have a constitutional
 3   right to remain on an EVL notwithstanding chronic non-voting. To the extent that
 4   Plaintiffs are arguing that the Periodic Voting Requirement imposes unconstitutional
 5   burdens their right to vote by mail, they have at least a distinctly uphill climb.
 6          C.     The Burden Imposed Is Minimal
 7          To the extent that Plaintiffs’ claim is cognizable at all, it is subject to “less exacting
 8   review” because the burden imposed by the Periodic Voting Requirement is minimal.
 9                 1.      The Actual Burden Imposed Is Truly Minimal
10          Voters can comply with the requirement in one of two ways: (1) they can either
11   return a mail-in ballot once every four years in an election with a federal or municipal
12   candidate race, or (2) respond favorably to a mailed notice asking if they wish to remain
13   on the EVL. Voters need not even vote in any actual races, since there is no such
14   requirement and actual ballots are anonymous/secret. Finally, even if voters are removed
15   from the EVL due to the Periodic Voting Requirement, they can easily place themselves
16   back on the list by using recorders’ websites or returning a form by mail.
17          None of this is remotely burdensome. The burden is notably less than in Short v.
18   Brown, 893 F.3d 671 (9th Cir. 2018). There, the Ninth Circuit considered a challenge to
19   California law in which voters in some counties had to request mail-in ballots while others
20   did not. It explained that “[t]o the extent that having to register to receive a mailed ballot
21   could be viewed as a burden, it is an extremely small one, and certainly not one that
22   demands serious constitutional scrutiny.” Id. at 677 (emphasis added). Short thus compels
23   a conclusion that the burden at issue here is minimal at most.
24          Similarly, the burden here is much smaller than in Crawford v. Marion Cty. Election
25   Bd., 553 U.S. 181 (2008). There, the Supreme Court explained that the “inconvenience of
26   making a trip to the BMV, gathering the required documents, and posing for a photograph
27   surely does not qualify as a substantial burden on the right to vote.” Crawford, 553 U.S.
28   at 198 (emphasis added) (plurality opinion); accord id. at 204 (Scalia, J., concurring joined


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 1   by Thomas and Alito, JJ.) (“[T]he burden at issue is minimal and justified”). The burden
 2   is even smaller here.
 3          In addition, two other factors further diminish the applicable burden here. First, the
 4   relevant burden must be evaluated in context and “considering all available opportunities
 5   to vote.” Mays, 951 F.3d at 785. As explained above, Arizona is a clear leader in removing
 6   burdens to voting. Supra at 4; Brnovich, 141 S. Ct. at 2330. The minimal nature of the
 7   burden thus becomes even more apparent when viewed in that context.
 8          Second, the Acts are completely neutral in character. The Ninth Circuit has
 9   “repeatedly upheld as ‘not severe’ restrictions that are generally applicable, even-handed,
10   [and] politically neutral.” Dudum, 640 F.3d at 1106 (cleaned up). SB 1485 does just that:
11   it applies to all voters equally, regardless of race, sex, age, or party.
12                 2.        Arizona Law Is Far More Generous Than Most Other States
13          The minuteness of the burden is also apparent when Arizona’s laws are place in the
14   context of other state laws. As set forth in the State’s request to take judicial notice and in
15   the Appendix below, only five states have a permanent vote-by-mail list and another five
16   conduct elections entirely by mail. See Judicial Notice Request; Appendix. Another ten
17   have an EVL that is confined purely to voters over 64 or those with disabilities. Id. A full
18   thirty states have no EVL for anyone.
19          In that posture, Plaintiffs’ conclusory contention (Complaint ¶132) that the Periodic
20   Voting Requirement “severely burden Arizona’s voters” can be readily rejected. See Iqbal,
21   556 U.S. at 681 (“bare assertions” of elements of the claim are “conclusory and not entitled
22   to be assumed true”). Whatever burden the Periodic Voting Requirement imposes on
23   voters to remain on the EVL is far less than those States that do not offer any EVL at all.
24   Indeed, if Arizona’s EVL and Periodic Voting Requirement were on imposed on States
25   like New York or Delaware, it would represent a substantial reform significantly
26   increasing the convenience of voting. But rather than suing those States (or having
27   Intervenor-Plaintiffs’ state legislative officials simply enact them through lawmaking),
28   Plaintiffs now bizarrely contend that the modest conditioning of remaining on the EVL by


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 1   the Periodic Voting Requirement somehow imposes an unconstitutionally severe burden
 2   that not maintaining any EVL at all does not.
 3          That fails as a matter of logic and common sense—and does not lack for hypocrisy.
 4   By having an EVL available to all voters—even if modestly limited by the Periodic Voting
 5   Requirement—Arizona has removed burdens on its voters that the vast majority of states
 6   continue to impose on theirs. That underscores the de minimis burden here, which is
 7   resolvable now in a motion to dismiss.
 8          D.     The State’s Important Interest Are Sufficient To Sustain S.B. 1485
 9          Because the Acts do not impose a “severe burden” under the Anderson-Burdick
10   framework, this Court’s inquiry into the constitutionality of the Act “is limited to whether
11   the chosen method is reasonably related to [an] important regulatory interest.” Prete, 438
12   F.3d at 971. Anderson/Burdick treats the State’s interests as a “legislative fact.” Frank v.
13   Walker, 768 F.3d 744, 750 (7th Cir. 2014). States need not submit “any record evidence
14   in support of” their interests. Common Cause/Ga. v. Billups, 554 F.3d 1340, 1353 (11th
15   Cir. 2009); Greater Birmingham, 992 F.3d at 1334. States can rely on “post hoc
16   rationalizations,” can “come up with [their] justifications at any time,” and have no
17   “limit[s]” on the type of “record [they] can build in order to justify a burden placed on the
18   right to vote.” Mays, 951 F.3d at 789. Here, the State’s interests in reducing administrative
19   burdens and in securing its elections easily satisfies this standard.
20                 1.     Reducing Administrative Burdens And Costs
21          The State has an important interest in reducing the administrative burdens in
22   administering elections. Ohio Democratic Party v. Husted, 834 F.3d 620, 635 (6th Cir.
23   2016) (recognizing that “easing administrative burdens … undoubtedly [furthers]
24   ‘important regulatory interests’”) (quoting Crawford, 553 U.S. at 194-96); Lemons v.
25   Bradbury, 538 F.3d 1098, 1104-05 (9th Cir. 2008) (recognizing “administrative burden”
26   as important interest).
27          The simple fact is that printing and sending ballots costs money—substantial
28   money. For example, Maricopa County alone spent over $4.96 million on printing and


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 1   mailing early ballots for the 2020 general election (excluding Covid-19 specific additional
 2   costs). See Judicial Notice Request Ex. 2 at 51. That translates to roughly $2-3 per ballot.
 3   That notably exceeds the County’s entire staffing budget for that election, which was only
 4   $3.35 million. Id.
 5          Given these substantial costs, the State could reasonably determine that continuing
 6   to print and send ballots to voters that are chronically not voting them is a waste of taxpayer
 7   funds. The Constitution does not command such waste.
 8          The State could further reasonably determine voters chronically failing to use the
 9   mailed ballot should only be sent mail-in ballots upon request. Or the voter could simply
10   request to be put back on the EVL if they developed an interest in voting more frequently
11   than their prior sporadic or non-existent voting.
12          Notably, numerous States appear to have concluded that the cost of having any EVL
13   is unwarranted. Arizona’s far-more restrained approach of simply reducing ballot
14   printing/mailing costs vis-à-vis voters who do not vote by mail even as sporadically as
15   once every four years is thus “reasonably related to [the State’s] important regulatory
16   interest” in reducing administrative costs. Prete, 438 F.3d at 971.
17          Plaintiffs’ only allegation bearing on cost appears to contend that SB 1485 will
18   somehow impose additional costs, as it will require counties to “implement a new system
19   to track and mail additional notices.” See DSCC Complaint at ¶ 104. This allegation is
20   patently implausible—the cost of mailing a single notice is plainly less than the cost of
21   mailing ballots in perpetuity to habitual non-voters. Plaintiffs’ own allegations assert that
22   fewer ballots will be mailed (as many as 130,000, see DSCC Complaint at ¶ 110) as a
23   result of the EVL Periodic Voting Requirement. Given the costs of those ballots, Plaintiffs’
24   allegations about increased cost “stop[] short of the line between possibility and
25   plausibility.” Twombly, 550 U.S. at 546.
26                 2.      Securing Elections
27          States have an “important regulatory interest in preventing fraud and its
28   appearances in its electoral processes.” Id. at 969. Indeed, that this interest is not merely


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 1   important, but outright compelling. See Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (“‘A
 2   State indisputably has a compelling interest in preserving the integrity of its election
 3   process.’”). Indeed, Congress has affirmatively mandated that States make “a reasonable
 4   effort to remove registrants who are ineligible to vote from the official list of eligible
 5   voters” precisely for this reason. 52 U.S.C. § 21083(a)(4)(a).
 6          The Supreme Court considered a challenge to a National Voter Registration Act
 7   Ohio law with important similarities to SB 1485 in Husted v. A. Philip Randolph Inst., 138
 8   S. Ct. 1833 (2018). As with SB 1485, it involved removal from a list/roll based on non-
 9   voting and non-response to notices. Id. at 1840-41. Unlike here, however, Ohio outright
10   removed those voters’ registrations, rather than merely taking them off an EVL. Id.
11          In evaluating Ohio’s interests, the Court explained that Congress and Ohio had
12   reasonably found that there was “probative value [in] a registrant’s failure to send back a
13   return card” that the voter had in fact moved. Id. at 1846. Indeed, “Congress’s judgment
14   [was] that the failure to send back the card, coupled with the failure to vote during the
15   period covering the next two general federal elections, is significant evidence that the
16   addressee has moved.” Id. at 1848. Similarly, the Ohio Legislature “thought that nonvoting
17   for two years was sufficiently correlated with a change of residence to justify sending a
18   return card.” Id. at 1847.
19          Like Congress and Ohio, Arizona can reasonably conclude that failure to vote in a
20   4-year period and non-response to a notice is substantial evidence that a voter no longer
21   lives at that address. There is an obvious election integrity concern with sending a ballot
22   to an address where the voter no longer resides—and someone else likely does. Ballots
23   sent to locations where voters are distinctly unlikely to reside anymore present a
24   particularly acute risk of fraud on top of already “real risk [of fraud] that accompanies
25   mail-in voting.” Brnovich, 141 S. Ct. at 2348.
26          E.     Plaintiffs Have Not Satisfied The Requirements For Facial Claims
27          Plaintiffs’ challenge is necessarily facial in nature, as they do not challenge any
28   particular application of the Acts—or indeed join any voters at all. Supra at 10. But facial


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 1   challenges “are disfavored for several reasons,” including that they “often rest on
 2   speculation,” “run contrary to the fundamental principle of judicial restraint,” and
 3   “threaten to short circuit the democratic process.” Washington State Grange v. Washington
 4   State Republican Party, 552 U.S. 442, 450-51 (2008). For that reason, facial challenges
 5   fail unless “no set of circumstances exists under which [challenged law] would be valid.”
 6   Salerno, 481 U.S. at 745.
 7          Here there are obvious circumstances where Plaintiffs’ theories fail even under their
 8   own terms. For example, suppose a voter signed up for the EVL in 2007 shortly after
 9   Arizona created it, and suppose further that this voter has not voted in a single federal or
10   municipal election since then—now at least 14 in all, and perhaps as many as 303—and
11   also does not respond to future notices and continues not to vote. Surely, Arizona can
12   remove that voter from the EVL without violating the Constitution.
13          If so, that example necessarily means that “circumstances exist[] under which [SB
14   1485] would be valid.” Id. And, to the extent that Plaintiffs disagree, their position would
15   thus necessarily have to be that the Constitution prohibits removing voters from an EVL
16   ever based on non-voting/non-response. But the Constitution does not demand that States
17   create EVLs at all, let alone make membership on those lists continue in perpetuity no
18   matter how many ballots go unvoted and notices ignored. No case has ever held anything
19   remotely of the sort, and there is no reason for this to be the first.
20                                          CONCLUSION
21          For the foregoing reasons, Plaintiffs’ and Intervenor-Plaintiffs’ Complaints should
22   be dismissed.
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       The City of Tucson, for example, holds municipal elections in odd-numbered years, and
     some municipalities hold run-off elections.
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 1   Respectfully submitted this 15th day of November, 2021.
 2
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 3
                                            ATTORNEY GENERAL
 4
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     Case 2:21-cv-01423-DWL Document 72 Filed 11/17/21 Page 31 of 35




 1
                                                 Appendix
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 3   Table 1. Non-Signature Curing Procedures By States
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                                   Table 1: Non-Signature Curing By State
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22           No Curing Permitted     Curing until Election Day   Post-Election Curing   Other Verification Method
                                                                                                             Powered by Bing
                                                                                                  © GeoNames, Microsoft, TomTom
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24   Sources: State’s Request To Take Judicial Notice (filed currently) and
     https://ballotpedia.org/Cure_period_for_absentee_and_mail-in_ballots
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                                                     APP-1
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 1   Table 2. Is Any Signature Curing Permitted? (By State)
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16      Yes      No
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19   Source: https://ballotpedia.org/Cure_period_for_absentee_and_mail-in_ballots

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                                         APP-2
     Case 2:21-cv-01423-DWL Document 72 Filed 11/17/21 Page 33 of 35




 1   Table 3. Early Voting Lists By State
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 3                                     Early Voting List By States
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                                                                                                 © GeoNames, Microsoft, TomTom


16                       No Early Voting List

                         Early Voting Open to All
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                         Exclusively Mail-In Ballots
18
                         Early Voting For Voters with Permanent Disabilities

19                       Early Voting For Voters with Permanent Disabilities and Those Over 64

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     Sources: State’s Request To Take Judicial Notice (filed currently);
22   https://www.ncsl.org/research/elections-and-campaigns/vopp-table-3-states-with-
23   permanent-absentee-voting-for-all-voters-voters-with-permanent-disabilities-and-or-
     senior-voters.aspx; and
24   https://www.ncsl.org/research/elections-and-campaigns/vopp-table-18-states-with-all-
     mail-elections.aspx
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                                                    APP-3
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 1                          LOCAL RULE 12.1 CERTIFICATION
 2         Pursuant to Local Rule 12.1, I certify that before filing the instant motion I
 3   contacted opposing counsel on November 11, and informed them of the State’s intention
 4   to file seek dismissal of the Complaints of both Original Plaintiffs and Intervenor-
 5   Plaintiffs. Counsel for both sets of Plaintiffs have indicated that they do not intend to
 6   amend their Complaints.
 7
                                              s/ Drew C. Ensign
 8
                                              Drew C. Ensign
 9                                            Counsel for Mark Brnovich, Arizona Attorney
10                                            General

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 1                             CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 15th day of November, 2021, I caused the foregoing
 3
     document to be electronically transmitted to the Clerk’s Office using the CM/ECF System
 4
     for Filing, which will send notice of such filing to all registered CM/ECF users.
 5
 6
                                               s/ Drew C. Ensign
 7                                             Drew C. Ensign
                                               Counsel for Mark Brnovich, Arizona Attorney
 8
                                               General
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